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                                                    U.S. Department of Justice

                                                    Andrew E. Lelling
                                                    United States Attorney
                                                    District of Massachusetts


Main Reception: (617) 748-3100                      John Joseph Moakley United States Courthouse
                                                    1 Courthouse Way
                                                    Suite 9200
                                                    Boston, Massachusetts 02210

                                                    July 29, 2020

Syrie D. Fried, Esq.
Good Schneider Cormier & Fried
83 Atlantic Avenue
Boston, Massachusetts 02110

       Re:     United States v. (1) Alex Yun Cheong Yue
               Criminal No. 19-CR-10214-IT

Dear Ms. Fried:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Alex Yun Cheong Yue (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

       1.      Change of Plea

        Defendant will plead guilty to all counts of the Indictment in which he is named: Count
One, Conspiracy to Commit Export Violations, in violation of 50 U.S.C. § 1705; Counts Two and
Three, Unlawful Exports and Attempted Unlawful Exports of U.S. Goods to Hong Kong, in
violation of 50 U.S.C. § 1705; and Count Four, Smuggling, in violation of 18 U.S.C. § 554.
Defendant admits that he committed the crimes specified in these counts and is in fact guilty of
each one.

       2.      Penalties

       Defendant faces the following maximum penalties: incarceration for 20 years on each of
Counts One through Three, and for 10 years on Count Four; supervised release for 3 years; a fine
of $1,000,000, on each of Counts One through Three, and a fine of $250,000 on Count Four; a
mandatory special assessment of $100 per count; and forfeiture to the extent charged in the
Indictment.

       Defendant understands that, if he is not a United States citizen, pleading guilty may affect
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Defendant’s immigration status. Defendant agrees to plead guilty regardless of any potential
immigration consequences, even if Defendant’s plea results in being automatically removed from
the United States.

       3.      Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 23:

               a) Defendant’s base offense level is 26 because Counts One through Four group
                  together, USSG § 2M5.1 is the highest applicable guideline, and national
                  security controls were evaded (USSG § 2M5.1(a)(1)(A)); and

               b) Defendant’s offense level is decreased by 3, because Defendant has accepted
                  responsibility for Defendant’s crimes (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration at the low end of the Guidelines sentencing range as calculated by
                  the parties;

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 36 months of supervised release;

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               d) a mandatory special assessment of $400, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;

               e) no restitution; and

               f) forfeiture as set forth in Paragraph 6.

       Defendant agrees to recommend the same forfeiture and mandatory special assessment
amounts as the U.S. Attorney, but may recommend any sentence of incarceration, probation,
supervised release, and/or fine that he chooses.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) He will not challenge his conviction on direct appeal or in any other proceeding,
                  including in a separate civil lawsuit; and

               b) He will not challenge any prison sentence of 57 months or less or any court
                  orders relating to forfeiture, restitution, fines, probation, or supervised release.
                  This provision is binding even if the Court’s Guidelines analysis is different
                  than the one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant’s
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 46 months or more.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence (to the extent set forth in subparagraph (b), above) will be final when the Court issues
a written judgment after the sentencing hearing in this case. That is, after the Court issues a written
judgment, Defendant will lose the right to appeal or otherwise challenge his conviction and
sentence (to the extent set forth in subparagraph (b), above), regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

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        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

       The parties further agree that, despite giving up these rights, Defendant keeps the right to
later move under 18 U.S.C. § 3582 for compassionate release on health grounds if he is imprisoned
and there are grounds for such a motion.

       6.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.
       The assets to be forfeited specifically include, without limitation, the following: $5,690. 67
in United States currency, to be entered in the form of an Order of Forfeiture (Money Judgment).
      Defendant admits that $5,690.67 is subject to forfeiture on the grounds that it is equal to
the amount of proceeds the defendant derived from the offense.
         Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating property
and/or property involved in, the crimes to which Defendant is pleading guilty and that, due at least
in part to the acts or omissions of Defendant, the proceeds or property have been transferred to, or
deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as “substitute assets” any other assets of Defendant up to the
value of the now missing directly forfeitable assets.
        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.
        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
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Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.
        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.
        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.
       7.      Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

       8.      Breach of Plea Agreement

       Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

       9.      Who is Bound by Plea Agreement

        This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.



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